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                            No. 21-4235

          UNITED STATES COURT OF APPEALS
               FOR THE SIXTH CIRCUIT

                      STATE OF OHIO, et al.,
                        Plaintiffs-Appellants,

                                 v.

                  XAVIER BECCERA, et al.,
                    Defendants-Appellees,


       On Appeal from the United States District Court
             for the Southern District of Ohio
                    No. 1:21-cv-675-TSB


   MOTION OF MONTANA, ALASKA, GEORGIA, IDAHO,
INDIANA, LOUISIANA, MISSISSIPPI, SOUTH DAKOTA, AND
   TEXAS TO FILE OVERSIZED AMICI CURIAE BRIEF
      IN SUPPORT OF PLAINTIFFS-APPELLANTS’



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       The States of Montana, Alaska, Georgia, Idaho, Indiana, Louisiana,

Mississippi, South Dakota, and Texas (“the States”) respectfully request

this Court’s permission to file an oversized brief as amici curiae in sup-

port of Ohio et al.’s motion for injunction in the above-captioned matter.

Pursuant to FRAP 29(a)(5) and FRAP 27(d)(2)(A), the word limit for an

amicus brief in support of an injunction pending appeal is 2,600 words.

The States’ proposed amicus brief contains 4,923 words.

       The Court should grant this motion because the proper application

of Title X is of the utmost importance to the States and the proposed brief

raises important arguments for the Court’s consideration not briefed by

Plaintiffs-Appellants. Many of the States filed a similar brief in support

of Plaintiffs-Appellants’ Motion for Preliminary Injunction. Like Plain-

tiffs-Appellants, the States will suffer irreparable injuries from Title X

funds being utilized to subsidize abortion. The States have providers

within their borders who receive Title X funds and will be affected by the

Final Rule’s plain violation of Congress’s express wishes.

       Most importantly, the proposed oversized brief contains important

arguments regarding the conscience rights of providers who decline to




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provide, perform, participate in, or refer for, abortions that have not been

raised by Plaintiffs-Appellants.

       Respectfully submitted: January 14, 2021.

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                             CERTIFICATE OF SERVICE

       I hereby certify that on January 14, 2022, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties for

whom counsel has entered an appearance by operation of the Court’s elec-

tronic filing system



                                           /s/  Christian Corrigan
                                           CHRISTIAN CORRIGAN




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